212 F.2d 436
    NATIONAL LABOR RELATIONS BOARDv.C. C. LANG &amp; SON, Inc.
    No. 12152.
    United States Court of Appeals Sixth Circuit.
    April 21, 1954.
    
      A. Norman Somers, Washington, D. C., for petitioner.
      McCobb, Heaney &amp; Dunn, Grand Rapids, Mich., for respondent.
      Before SIMONS, Chief Judge, and ALLEN and MILLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      This case came on to be heard upon the motion of the National Labor Relations Board for the summary entry of a decree, respondent's motion for leave to adduce additional evidence, and memorandum of the petitioner in opposition thereto;
    
    
      2
      And it appearing that there has been no response to the order of the Board charging unfair labor practices and that the request to adduce additional evidence is directed to the point of alleged compliance with the Board's order;
    
    
      3
      And it appearing that compliance with the Board's order does not render the order moot nor constitute a defense to a petition for enforcement, National Labor Relations Board v. Mexia Textile Mills, Inc., 339 U.S. 563, 567, 569, 70 S. Ct. 826, 833, 94 L.Ed. 1067;
    
    
      4
      It is ordered that the motion for leave to adduce additional evidence be and it hereby is denied;
    
    
      5
      And it is ordered that the order of the Board be enforced.
    
    